           Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 1 of 11
           0^
^^B ^
          n\&

                 IN THE UNITED STATES DISTRICT COURT
    .•i\1<?

   ^
     ^ \ ^w ypR THE NORTHERN DISTRICT OF GEORGIA

 ^^s^                                                 DIVISION

w 7D^^^ 7^/^
 (Print your full name)

                 PlaintifF^pro se,                     CIVIL ACTION FILE NO.


     V.
                                                         1=18-CV-5961
                                                         (to be assigned by Clerk)
     S^^bixc^s Corpora hor)




 (Print full name of each defendant; an
 employer is usually the defendant)

                 Defendant(s).



   PRO SE EMPLOYMENT DISCRIMINATION COMPLAmT FORM

                               Claims and Jurisdiction


 1. This employment discrimination lawsuit is brought under (check only those
      that ap^ly):

           \/ Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et
                     seq., for employment discrimination on the basis of race, color,
                     religion, sex, or national origin, or retaliation for exercising rights
                     under this statute.


                            NOTE: To sue under Title VII, you generally must have
                            received a notice of right-to-sue letter from the Equal
                            Employment Opportunity Commission ("EEOC").


                                        Page I of 9
         Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 2 of 11



                   Age Discrimination in Employment Act of 1967, 29 U.S.C. §§
                   621 etseq.. for employment discrimination against persons age 40
                   and over, or retaliation for exercising rights under this statute.


                          NOTE: To sue under the Age Discrimination in
                          Employment Act, you generally must first file a charge of
                          discrimination with the EEOC.



                   Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
                   seq., for employment discrimmation on the basis of disability, or
                   retaliation for exercising rights under this statute.

                          NOTE: To sue under the Americans With Disabilities Act,
                          you generally must have received a notice ofright-to-sue
                          letter from the EEOC.



                   Other (describe) U^VA^^un ^ ^Wru^^or^^v 6<>^v^o\^

                   rY~^tcsC «f>rv^cA^Or'\




2. This Court has subject matter jurisdiction over this case under the above-listed
      statutes and under 28 U.S.C. §§ 1331 and 1343.




                                       Page 2 of 9
       Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 3 of 11



                                     Parties

3.   Plaintiff.   Print your full name and mailing address below:

     Name          T)am5c^ ~T&^^
     Address        ^(.w OL,^ ^ ^p€ w^ ^f/-

                    HH137 _.
4. Defendant(s).        Print below the name and address of each defendant listed
                        on page 1 of this form:

     Name             5^rb\AC\AS C^^aC^o^

     Address         l'2-oo \A» paces ^FM !^> (J^j A^o^t^

                   fi A ^Z-7

     Name

     Address




     Name

     Address




                               Location and Time


5.   If the alleged discriminatory conduct occurred at a location different from the
     address provided for defendant(s), state where that discrimmation occurred:




                                    Page 3 of 9
       Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 4 of 11



6. When did the alleged discrimination occur? (State date or time period)

      7,^^ ^ Xiij/ Zo>7 c^p un^il oavb<r W




                          Administrative Procedures

7. Did you file a charge of discriminati<yl against defendants) with the EEOC or
      any other federal agency? \/ Yes _ No


            If you checked "Yes," attach a copy of the charge to this complaint.



8. Have y^u received a Notice ofRight-to-Sue letter from the EEOC?

            Yes No


            If you checked "Yes," attach a copy of that letter to this complaint and
            state the date on which you received that letter:




9. If you are suing for age discrimination, check one of the following:


                  60 days or more have elapsed since I filed my charge of age
                  discrimination with the EEOC

                  Less than 60 days have passed since I filed my charge of age
                  discrimination with the EEOC




                                    Page 4 of 9
        Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 5 of 11



10. If you were employed by an agency of the State of Georgia or unsuccessfully
     sought employment with a State agency, did you file a complaint against
     defendant(s) with the Georgia Commission on^qual Opportunity?

            Yes _ No W Not applicable, because I was
                                             not an employee of, or applicant with,
                                             a State agency.


           If you checked "Yes," attach a copy of the complaint you filed with the
           Georgia Commission on Equal Opportunity and describe below what
           happened with it (i.e., the complaint was dismissed, there was a hearing
           before a special master, or there was an appeal to Superior Court):


          ~ Pil-ff C^c^ i^^ €f<^^ ^</ 5^^- ^^
                           a

       A _ ^Jo^Qi^ / L-/^ ^ ^<;i^^S- ^ 5,^.^ ^//^- G^^^




11. If you were employed by a Federal agency or unsuccessfully sought
      employment with a Federal agency, did ypu complete the administrative
      process established by that agency for p6rsons alleging denial of equal
     employment opportunity?

            Yes _ No \^ Not applicable, because I was
                                             not an employee of, or applicant with,
                                             a Federal agency.


           If you checked "Yes," describe below what happened in that
           administrative process:




                                     Page 5 of 9
        Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 6 of 11



                               Nature of the Case


12. The conduct complained about in this lawsuit involves (check only those that
     apply):

                  failure to hire me
                  failure to promote me
                  demotion
           ^ reduction in my wages |
      ^z          working under terms and conditions of employment that differed
                  from similarly situated employees
                  harassment
       \V/ retaliation
       '^y termmation of my employment
                  failure to accommodate my disability
                  other (please specify)




13. I believe that I was discriminated against because of (check only those that
     apply):

                  my race or color, which is J^lc^c^
                  my religion, which is
                  my sex (gender), which is Y male                          female
                  my national origin, which is
                  my age (my date of birth is
                  my disability or perceived disability, which is:



                  my opposition to a practice of my employer that I believe violated
                  the federal anti-discrimination laws or my participation in an
                  EEOC investigation

                  other (please specify) ^p^o\ ^rofr^^iA^ Z ^^w-^i)




                                       Page 6 of 9
         Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 7 of 11



14. Write below, as clearly as possible, the essential facts of your claim(s).
      Describe specifically the conduct that you believe was discriminatory or
      retaliatory and how each defendant was involved. Include any facts which
      show that the actions you are complaining about were discriminatory or
      retaliatory. Take time to organize your statements; you may use numbered
      paragraphs if you find that helpful. Do not make legal arguments or cite cases
      or statutes.
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                              \J                          I             ^



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                                     7'.                  ^

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  ~^- O-^^ft^c^-^ /-k. S-e.K^A.a.t //z?i^%t^^^?/-> „
(Attach no more than five additional sheets if necessary; type or write legibly only on
one side of a page.)


                                      Page 7 of 9
          Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 8 of 11



15. Plaintiff _/ still works for defendants)
                      v-^ no longer works for defendant(s) or was not hired



16. If this is a disability-related claim, did defendant(s) deny a request for
      reasonable accommodation? Yes No



             If you checked "Yes," please explain:




17. If your case goes to trial, it will be heard by^a judge unless you elect a jury
      trial. Do you request a jury trial? \/ Yes _No



                                 Request for Relief

As relief from the allegations of discrimination and/or retaliation stated above,
plaintiff prays that the Court grant the following relief (check any that apply):

                    Defendant(s) be directed to



                      oney damages (list amounts) ^Oc^oO



                   Costs and fees involved in litigating this case



                    Such other relief as my be appropriate




                                      Page 8 of 9
          Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 9 of 11



           PLEASE READ BEFORE SIGNmG THIS COMPLAINT

Before you sign this Complaint and file it with the Clerk, please review Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions of Rule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendants). Finally, if the defendant(s) is the prevailing party in this
lawsuit, costs (other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).



             Signed, this 2?^ day of D-e^ib^ _, 20,^




                                         (Si&iature of plaintiff pro se)

                                                   /<*<t-<5c^

                                         (Printed name of plaintiffpro se)

                                        ^w ^^ ^ ^&^ ^ ^'w37
                                         (street address)

                                           Hafk ^ 0^6 W^"7
                                         (City, State, and zip code)

                                                                       c^rr7
                                        T^t^Sc^ .Tc^hr^ H^o€><
                                         (email address)
                                               •




                                          1^0^ 3^7- ^~7^L(
                                         (telephone number)




                                       Page 9 of 9
                          Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 10 of 11
 EEOC Form 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                   DISMISSAL AND NOTICE OF RIGHTS
 To: Dauson Taylor                                                                      From: Atlanta District Office
      5699 Dunham Rd.                                                                            100 Alabama Street, S.W.
        Maple, OH 44137                                                                          Suite 4R30
                                                                                                 Atlanta, GA 30303



      a                      On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                                 EEOC Representative                                                    Telephone No.

                                                 Ananda L. Harris,
 410-2018-04116                                  Investigator                                                           (404) 562-6849
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                  The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


                  Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


      a           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge

                 The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

      a          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


      n           Other (briefly state)



                                                          - NOTICE OF SUIT RIGHTS -
                                                    fSee the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondents) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                      On behalf of the


                                                                                                                           4            L^OJS
Enclosures(s)                                                                                                                 (Date Mailed)
                                                            Bernice WHIiarrfe-Kimbrough,
                                                                     District Director
ec:
           DanieIIe MehaIIo
           Shareholder
           Littler Mendelson, P.C.
           2301 IVIcGee Street, 8th Floor
           Kansas City, IVIO 64108
         Case 1:18-cv-05961-AT Document 4 Filed 01/03/19 Page 11 of 11


       NOTICE TO
    PROSE PLAINTIFFS
       attaching form Complaint

          (revised 2/20/2013)



Representing yourself in Court-called appearing pro se-is difficult for persons
without legal training. Before doing so, you should consider finding an attorney to
take your case. The following referral services may help you find a lawyer:

       1. Atlanta Bar Association (404) 521 -0777
             (serving Fulton, Cobb, DeKalb, Douglas, Rockdale, Paulding, Henry,
             Gwinnett, Clayton, Cherokee, Fayette, and Forsyth Counties)

      2. Cobb County Lawyer Referral Service (770) 424-2947
            (serving Cobb, Douglas, Bartow, Cherokee, and Paulding Counties)

      3. DeKalb Bar Association Lawyer Referral Service (404) 373-2580
             (serving DeKalb, Fulton, Gwinnett, and Cobb Counties)

      4. Attorneys' Confidential Referral Service, Inc. (888) 536-5900
             (serving all Counties in Georgia)

      5. Atlanta Volunteer Lawyers Foundation (404) 521 -0790
             http://www.avlf.org


If you desire to proceed without a lawyer, the attached form complaint has been
prepared for your convenience, but you are not required to use it. Please write clearly
and fill it out to the best of your ability. However, completion and filing of this
form is no guarantee that your case will succeed.


You must keep the Clerk of Court infonned as to any change in your address or
telephone number. You must also follow the Federal Rules of Civil Procedure and
the Local Rules of this Court. You may obtain a copy of the Federal Rules of Civil
Procedure in most public libraries or at the following website:
http://www.uscourts.gov/uscourts/rules/civil-procedure.pdf. You may review this
Court's Local Rules in the Clerk's Office, purchase a copy from the Clerk's Office,
or access this Court's Local Rules at the following website:
htto ://www. gandjiscourts. gov/pdf^NDGARulesCV.Ddf.
